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         In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 18-1132V
                                       Filed: July 23, 2019
                                         UNPUBLISHED


    VIOLET J. BARINO,

                         Petitioner,                          Special Processing Unit (SPU);
    v.                                                        Ruling on Entitlement; Concession;
                                                              Table Injury; Pneumococcal
    SECRETARY OF HEALTH AND                                   Conjugate Vaccine; Shoulder Injury
    HUMAN SERVICES,                                           Related to Vaccine Administration
                                                              (SIRVA)
                        Respondent.


William Patrick Hatfield, Hatfield Temple, LLP, Florence, SC for petitioner.
Ida Nassar, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1

Dorsey, Chief Special Master:

       On August 2, 2018, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the “Vaccine
Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of a February 3, 2017 pneumococcal conjugate
vaccine. Petition at 1. The case was assigned to the Special Processing Unit of the
Office of Special Masters.



1The undersigned intends to post this ruling on the United States Court of Federal Claims' website. This
means the ruling will be available to anyone with access to the internet. In accordance with Vaccine
Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information, the
disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the undersigned
agrees that the identified material fits within this definition, the undersigned will redact such material from
public access. Because this unpublished ruling contains a reasoned explanation for the action in this
case, undersigned is required to post it on the United States Court of Federal Claims' website in
accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management
and Promotion of Electronic Government Services).

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C.
§ 300aa (2012).
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        On July 22, 2019, respondent filed his Rule 4(c) report in which he concedes that
petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1.
Specifically, respondent agrees “that petitioner has satisfied the criteria set forth in the
Vaccine Injury Table (“Table”) and the Qualifications and Aids to Interpretation (“QAI”).”
Id. at 6. Respondent further agrees that “petitioner had no relevant history of pain,
inflammation or dysfunction in her right shoulder; her pain and reduced range of motion
occurred within 48 hours of receiving of an intramuscular vaccination; her symptoms
were limited to the shoulder in which the vaccine was administered; and, no other
condition or abnormality was identified to explain her symptoms.” Id.

     In view of respondent’s position and the evidence of record, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.

                                   s/Nora Beth Dorsey
                                   Nora Beth Dorsey
                                   Chief Special Master
